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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  SHARIFA ANWARI,                                    Case No. 22-cv-04357-VC
                 Plaintiff,
                                                     ORDER TO SHOW CAUSE
          v.
                                                     Re: Dkt. Nos. 13, 16
  AHMAD MOMAND,
                 Defendant.



       Anwari failed to appear at the case management conference on September 28, 2022.

Anwari is therefore ordered to show cause as to why her petition should not be dismissed for

failure to prosecute, pursuant to Rule 41(b) of the Federal Rules of Civil Procedure. Anwari is

ordered to file a written response by Monday, October 3, 2022. The hearing on the order to show

cause will be held Wednesday, October 5, 2022 at 1pm via Zoom. If Anwari fails to respond or

appear at the hearing, the petition will be dismissed for failure to prosecute.
       Momand’s counsel is ordered to email this order to Anwari, Anwari’s German counsel,

and the Santa Clara County District Attorney’s Office (specifically, the attorneys who filed the

petition in state court on Anwari’s behalf).

       IT IS SO ORDERED.

Dated: September 28, 2022
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
